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                   IN THE UNITED STATES DISTIRCT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI


KATARZYNA FOULGER, DAVID SHNITZER, )
TIFFANI PADILLA, STEPHEN PADILLA,  )
RANDI HEKKEMA, JOSEPH HEKKEMA,     )
ALEXANDRA HODOR, and NICOLE WHITE, )
                                   )
           Plaintiffs,             )
                                              Case No: 4:22-CV-00878
                                   )
vs.                                )
                                   )
AVERTEST, LLC d/b/a AVERHEALTH     )
                                   )
           Defendant.
                                   )

             DEFENDANT’S RESPONSE TO PLAINTIFFS’
       MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE
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I.     INTRODUCTION

       Defendant Avertest, LLC d/b/a Averhealth (“Averhealth”) takes its responsibility to

perform high-quality drug testing seriously. This is a case in which Plaintiffs accuse Averhealth

of doing otherwise, and in so doing, producing inaccurate results on their individual drug tests.

This, they claim, caused them to lose custody of their children. Plaintiffs, however, are unable to

show their test results were, in fact, inaccurate, and they similarly cannot prove (or at least to date

have not produced court records that would show) their purportedly false test results caused the

removal of their children.

       As with its drug testing, Averhealth takes seriously its discovery obligations in this case.

Again, by this motion, Plaintiffs accuse Averhealth of not doing so and request sanctions. As

detailed below, these allegations of discovery misconduct are meritless, and the motion should be

denied. While Plaintiffs’ motion takes a somewhat scattershot approach to alleging perceived

deficiencies in Averhealth’s litigation and discovery conduct, the motion highlights three areas in

which Plaintiffs claim Averhealth has not sufficiently met its discovery obligations under the

Rules: first, the destruction of certain chain of custody documents; second, the missing hair

specimen of Katarzyna Foulger; and third, the reproduction of seven missing drug test analyses.

       Plaintiffs claim, without evidence, that these deficiencies were intentional and therefore

should subject Averhealth to discovery sanctions. They request the most severe sanction: entry of

a default judgment against Averhealth and the effective end of this lawsuit. And while Plaintiffs

accuse Averhealth of “egregious” underlying discovery misconduct, each one of the three areas of

putative deficiency has a far more benign and objectively reasonable explanation than that

Plaintiffs ascribe to it. Averhealth presents its best understanding and explanation for each




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perceived deficiency below and explains why, in these circumstances, sanctions (and especially

those as extreme as are being requested by Plaintiffs here) are unwarranted.

II.    BACKGROUND

       This is a complex case. It has involved complex and extensive discovery. Limited only to

requests for production, Plaintiffs have made 129 requests, exclusive of subparts, to Averhealth.

In every instance, Averhealth has undertaken a reasonable search for responsive records and

materials, consistent with its obligations to do so under the Federal Rules. Averhealth has produced

over 90,000 pages during discovery in this case. Averhealth is not the corporate behemoth

Plaintiffs paint it to be, with only 63 laboratory testing personnel involved in day-to-day testing

operations. Exhibit A, Affidavit of Dominique Delagnes, ¶ 4. The process of responding to

Plaintiffs’ voluminous requests has required yeoman’s efforts on the part of eight of its employees

who have had to repeatedly divert attention away from their day-to-day tasks to attempt to meet

Plaintiffs’ demands. Id. at ¶ 5.

       Averhealth acknowledges that, in responding to a huge breadth of discovery requests and

due, in part, to the volume of its testing enterprise, it has been unable to locate certain items that

might be responsive to one or more of the 100-plus requests that have been propounded to it. It

has, however, continuously worked to ensure that its discovery responses are as complete and

accurate as possible, and to supplement its discovery responses where necessary. Averhealth has

made numerous affirmative and voluntary disclosures upon discovering that its earlier productions

and responses may have been in some way incomplete. These supplemental productions include

items with which Plaintiffs take issue in their motion.

       In some instances, the identified alleged deficiencies appear to have been simple human

error. In others, they can be readily and plausibly explained as other than intentional spoliation of


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evidence. Plaintiffs, however, jump to the conclusion that any discovery issues they may have

identified, for which they claim Averhealth should have judgment entered against it, are rooted in

bad faith and were purposeful. This is not so, and sanctions are unwarranted under this Circuit’s

law.

        A.      Supplemental Test Record Data

        Throughout discovery, Plaintiffs have requested “data packs” for each of the Plaintiffs’

unexpected-positive tests. After testing a specimen, Averhealth creates and maintains a one- or

two-page laboratory report for each test that reflects the substances tested and the test results.

Exhibit B, Affidavit of Dr. Michele Glinn, ¶ 3. As Averhealth has explained to Plaintiffs, it does

not create “data packs” until it receives a request for one from a client, typically a court or other

State official. Id. at ¶ 4. Moreover, these data-pack requests typically occur shortly after the test at

issue, when a test is used as evidence in court or when a litigant challenges the accuracy or validity

of the test. Id. at ¶ 6. Creating a data pack requires trained Averhealth scientists to manually search

its systems to collate documents and data across multiple file and system locations, including test

results, chains of custody for the specimen, instrument data, maintenance logs, quality control logs,

chromatographs, and applicable Standards of Procedure. Id. at ¶ 8. This exercise becomes more

difficult and complex as time passes due to the volume of data processed by Averhealth on a daily

basis. Id. at ¶ 10.

        In response to Plaintiffs’ requests, Averhealth undertook the painstaking work of creating

data packs for 118 specimens reaching back to 2019. Following production of those data packs

and during continuing review of the produced materials, counsel for Averhealth identified certain

data packs that contained incomplete data or analyses. On July 30, 2024, Averhealth made a

supplemental production of materials to fill gaps in the produced data packs, and its counsel

provided a letter describing the reasons for the supplemental production (the “July 30 letter”).
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       The letter explained that, among other data, the production contained analyses for seven

data packs that were incomplete and for which Averhealth did not have the original analyses.

Averhealth test batches undergo two levels of review by certifying lab technicians before the

results are reported. Prior to 2021, certifying technicians sometimes saved their batch analyses

locally, rather than uploading them to the Averhealth system. Ex. A, Delagnes Aff., at ¶ 26. Upon

review, there were 7 instances across the 118 test data packs where the certifying technician saved

their batch analyses locally and those analyses could not be retrieved. Five of these seven data

packs were past the required two-year retention window when the Amended Complaint was filed

on January 26, 2023. In addition, since 2021, Averhealth has changed its standard practice to

include uploading batch analyses to Averhealth’s SharePoint system. Id. at ¶ 30. To fill the gaps

in these data packs, Averhealth recreated the chromatograph analyses to reflect what it believes

the certifying technician may have done during the review process.

       In four instances raised by Plaintiffs, the certifying technician was Anthony Hall. The

specimens in those instances belonged to Plaintiffs Joseph Hekkema, Randi Hekkema, Stephen

Padilla, and Tiffani Padilla. Mr. Hall left Averhealth on July 1, 2021, and did not save some of his

final analyses to Averhealth’s SharePoint system before departing. Id. at ¶ 27. Shortly after his

departure, and well before this case was filed, the hard drive of Mr. Hall’s computer was erased,

consistent with Averhealth’s policy for treatment of computer hardware following the departure

of an Averhealth employee. Id. at ¶ 29. Because Averhealth does not frequently receive requests

for data packs, it was not on notice that relevant data for the affected Plaintiffs existed on Mr.

Hall’s laptop prior to its erasure, nor that the affected Plaintiffs had potential claims against

Averhealth. Prior to this litigation, Averhealth had not received a request to reproduce data that

was erased from a former employee’s hard drive. Id. at ¶ 31.


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        In one additional instance from 2019, a second-level certifying technician still employed

by Averhealth did not save her batch analysis to Averhealth’s system. Averhealth, by internal

policy, is only required to retain documents related to testing specimens for two years. See Exhibit

C, Accessioning and Internal Chain of Custody Standard Operating Procedure. This analysis

related to a specimen collected on December 18, 2019—well before this lawsuit was filed, and

outside of the two-year document retention window at the time this lawsuit was filed. In the final

two instances, subsequent to sending the July letter, Averhealth located and produced to Plaintiffs

the original analyses that were prepared during review and certification of the related batches.

        B.      Chain of Custody Documents

        Averhealth maintains its chain of custody documentation for two years following collection

of the specimen. Ex. A, Delagnes Aff., at ¶ 8. In almost every instance, that chain of custody

documentation is maintained electronically. Plaintiffs identify 19 tests for which the electronic

chain of custody documentation begins on the date of receipt at the lab. This is apparently the case

because, in a small number of instances, specimens are delivered to the lab from a case worker or

private partner that does not maintain electronic records, but instead sends paper records

evidencing custody from the point of collection through delivery to Averhealth’s laboratory. Id. at

¶ 10-11. All of the 19 missing records originated with a case worker or at a private partner

location—for example, Catholic Charities of West Michigan. Id. at ¶ 12.

        The Amended Complaint, which joined all of the current Plaintiffs, was filed on January

26, 2023.1 At that time and subject to its two-year retention policy, Averhealth would still have

records of tests from January 26, 2021, to present. The earliest of the subject tests identified by




1 Foulger was the only Plaintiff identified in the original Complaint, filed August 22, 2022, and Plaintiffs
do not take issue with the chain of custody produced for her test.
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Plaintiffs was in November 2019, more than three years before Plaintiffs filed their Amended

Complaint and all current Plaintiffs were joined in the case. Only seven of the tests with incomplete

chain of custody documentation were completed within two years of the Amended Complaint. One

such test has a complete chain of custody which was unintentionally omitted during data pack

creation, and it will be produced to Plaintiffs promptly. Plaintiffs do not suggest that Averhealth

should have been on notice to retain records for the twelve tests performed prior to January 26,

2021. Accordingly, only six tests are properly at issue for the purpose of the spoliation analysis.

All six tests belong to Tiffani and Stephen Padilla.

       The paper chain of custody is a two-ply form; one copy is retained by the private partner

that collected the specimen, and the other is sent with the specimen to Averhealth’s lab. See Exhibit

D, Sample Paper Chain of Custody Form. When laboratory staff receive a specimen accompanied

by a paper chain of custody, the staff member first reviews the barcode on the paper form to ensure

it matches the barcode on the specimen. Ex. A, Delagnes Aff., at ¶ 16. The staff member also

ensures that the seal is intact and has not been broken and there is no evidence of tampering. Id. at

¶ 17. If the barcodes on the form and specimen do not match, or the seal of the specimen is broken

or has been tampered with, the specimen is rejected. Id. at ¶ 21. If the specimen is acceptable, the

information from the paper chain of custody is entered into Aversys, Averhealth’s internal

specimen- and test-tracking software, and the specimen is processed for testing. Id. at ¶ 20.

       Averhealth does not test specimens that do not have chain of custody documentation when

received at the lab. Stated affirmatively, Averhealth tests specimens only when those specimens

are accompanied by chain of custody documentation. Id. at ¶ 24. Averhealth’s Standard Operating

Procedure (“SOP”) for Workflow and Chain of Custody confirms this procedure. See Exhibit E.

The SOP states that upon receipt of a specimen, laboratory personnel must review the


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accompanying chain of custody for acceptability. Id. If it is deemed unacceptable, lab staff

determine whether the flaw is fatal or correctable. Id. Specimens with fatal flaws, or correctable

flaws for which a correction is not received within a reasonable period, are rejected. Id.

        Plaintiffs’ position incorrectly implies that Averhealth’s tests are only defensible when a

complete chain of custody is present for a specimen. This contention misconstrues the purpose of

the chain of custody documentation maintained by Averhealth. The chain of custody is one

procedure among several that ensure the defensibility of a test. The review of the barcode on the

form and the specimen container, as well as the seal on the container, also confirm chain of custody

and defensibility of collection. Ex. A, Delagnes Aff., at ¶ 23. Moreover, the tests with incomplete

chain of custody records represent only 6 tests out of the Padillas’ 85 tests with unexpected positive

results, and 118 total tests at issue in this case.

        C.      Foulger’s hair specimen

        Plaintiffs seize on language in Averhealth documents indicating that drug testing

specimens are retained for 365 days, making the assumption that all such specimens are retained

for one year. This is not always the case, at least with respect to hair testing. With respect to hair

testing, there is an obvious concern that the hair specimen taken from each person undergoing drug

screening be minimized to the extent possible to only that amount of hair which is needed to

conduct an appropriate test and avoid needing to take too much of any given person’s hair for that

test. Averhealth follows this practice to avoid embarrassment to those it tests by hair specimen.

Additionally, as part of the process for testing hair specimens, Averhealth must pulverize and

liquify the hair in order to perform the test and obtain the test’s results. Ex. B, Glinn Aff., at ¶ 13.

If after pulverizing and liquifying the required amount of hair for testing there remains excess hair,

then the excess hair is retained for 365 days as certified in the lab report. Exhibit F, July 8, 2024,

Deposition of Dominique Delagnes at 110:25, 111:1-19.
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       Plaintiff Foulger’s specimen was collected on December 13, 2021, and she requested her

hair specimen in January 2022. The Averhealth employee who received her request incorrectly

reported that her specimen was not retained. On July 11, 2023, during its evidence preservation

efforts in connection with this case, Averhealth found the remaining hair specimen and took

photographs of it. Those photographs were produced to Plaintiffs’ counsel on November 10, 2023.

Despite several extensive searches for the specimen in the year following, Averhealth has been

unable to recover it.

       D.      Statements to the Court

       Plaintiffs also take issue with other actions of, and statements made by, Averhealth that

bear no relation to alleged spoliation, in an attempt to bolster their spoliation arguments with

general, unrelated allegations of bad faith. Though the Court should disregard these claims because

they are improperly raised, each of Plaintiffs’ complaints has a simple and reasonable explanation.

       First, Plaintiffs allege that Averhealth has misrepresented the College of American

Pathologists’ (“CAP”) conclusion regarding Dr. Sarah Riley’s complaints. In support of its Motion

to Dismiss, Averhealth asserted that CAP found Dr. Riley’s complaints to be unsubstantiated.

(Doc. 27 at p. 25.) Plaintiffs point to recent deposition testimony by Averhealth CEO Dominique

Delagnes to assert that Averhealth knew that its assertion was false.

       The explanation is straightforward. Around the time Dr. Riley left Averhealth, CAP

received two sets of complaints about Averhealth’s testing practices. The first, regarding

Averhealth’s quality assurance adherence to its standards and protocols, is Reference Number

10219. The second and more serious complaint, alleging false positive test results and

noncompliance with CAP Terms of Accreditation related to media reports, bears Reference

Number 10459. Exhibit G.



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       The May 25, 2021, letter cited by Averhealth in its Motion refers to Reference Number

10459. Exhibit H. It states that CAP “has reviewed the inspector findings concerning the complaint

we received. The allegations were reviewed and determined to be not applicable to the testing

performed under the CAP FDT program.” Id. Plaintiffs themselves cite to and attach this letter to

their Second Amended Complaint as Exhibit 115. (Doc. No. 16, ¶ 115; Ex. 115.) Averhealth

maintains its contention, as it stated in the Motion to Dismiss, that Plaintiffs’ factual and

conclusory statements regarding the CAP investigation and probation are “irrelevant to and

divorced from the central proposition – were Plaintiffs’ test results ‘false positives’ due to alleged

improper testing practices at Averhealth.” (Doc. No. 27 at p. 27.)

       Plaintiffs previously took issue with Averhealth’s statements in its Motion to Dismiss on

November 3, 2023, in a purported Rule 11 letter, which did not attach a proposed motion. See

Exhibit I. Averhealth responded on November 17, 2023, confirming that it maintained the position

asserted in the motion and denying that it had misrepresented its interactions with CAP. See Exhibit

J. Plaintiffs’ counsel did not respond or raise the subject again until this motion.

       Second, Plaintiffs allege that Averhealth misrepresented the scope of its production when

it asserted in February 2024 that it had produced all of the underlying data for Plaintiffs’ positive

tests. Averhealth further stated that the data provided was “more than sufficient to allow review

by an independent toxicologist to determine the validity of those tests,” which was how Plaintiffs

defined the data they sought in the relevant request for production.

       Following the deposition of Averhealth CEO Dominique Delagnes, Averhealth’s counsel

became aware that certain spreadsheets with data regarding some of Plaintiffs’ tests had not been

produced. As soon as counsel for Averhealth became aware of the spreadsheets, it immediately

produced them, along with some supplemental data for Plaintiffs’ positive tests, to Plaintiffs’


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counsel. Again, this is a complex case with complex discovery, and Averhealth takes its discovery

responses seriously. It has conducted reasonable searches for responsive materials since the outset

of the case and voluntarily and proactively supplemented its discovery responses when

appropriate. Additionally, Plaintiffs have had the initially produced data packs since June 16, 2023,

and could have identified any gaps in the data which were later filled by the supplemental

production.

III.   ARGUMENT

       A.      Legal standard

       “[I]n a case involving the alleged spoliation of evidence, a district court is required to make

two findings before an adverse inference instruction is warranted: (1) ‘there must be a finding of

intentional destruction indicating a desire to suppress the truth,’ and (2) ‘[t]here must be a finding

of prejudice to the opposing party.’” Hallmark Cards, Inc. v. Murley, 703 F.3d 456, 460 (8th Cir.

2013) (quoting Stevenson v. Union Pacific R.R. Co., 354 F.3d 739, 746 & 748 (8th Cir. 2004)). In

the context of prelitigation spoliation of evidence, “a district court must issue explicit findings of

bad faith and prejudice prior to delivering an adverse inference instruction.” Id. at 461.

       “Intent rarely is proved by direct evidence, and a district court has substantial leeway to

determine intent through consideration of circumstantial evidence, witness credibility, motives of

the witnesses in a particular case, and other factors.” Morris v. Union Pacific R.R., 373 F.3d 896,

901 (8th Cir. 2004). A finding of intent is a highly contextual exercise, and particularly when “a

corporation is involved, the inquiry depends in part on corporate policies, but also to some extent

on the intent of corporate employees, not all of whom will play the same role in every case.” Id.

at 902-03. “Prejudice exists when spoliation prohibits a party from presenting evidence that is

relevant to its underlying case,” and may also be established by the nature of the evidence



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destroyed. Vogt v. MEnD Correctional Care, PLLC, Case No. 21-cv-1055 (WMW/TNL), 2023

WL 2414551, at *10 (D. Minn. Jan. 30, 2023).

        B.     Averhealth’s reproduction of certain analyses is not sanctionable as spoliation.

        Plaintiffs have not shown, or attempted to show, that the missing analyses were

intentionally destroyed. With respect to the reproduction of a limited set of analyses, Plaintiffs rely

on American Builders & Contractors Supply Co. v. Roofers Mart, Inc. to argue that the

reproduction was sanctionable. No. 1:11-CV-19, 2012 WL 2992627 (E.D. Mo. Jul. 12, 2012).

American Builders is inapposite. That case involved evidence of intentional destruction of relevant

evidence. There, among other things, the spoliating party ran a reset of the operating system after

the case had been instituted and 2 days after his first deposition. Id. at *2. His testimony further

buttressed the claim that he did so in order to either delete the company’s records or at least ensure

there were no such records on the laptop (which he had used while employed at ABC for business

purposes). Id. The court used the timing and the spoliating party’s testimony to infer that the

installation of the software could not have been an innocent action but was instead intended to

ensure no ABC records were on the laptop during a period in which the preservation obligation

existed. Id.

        While Plaintiffs do not cite it, System Spray-Cooled, Inc. v. FCH Tech LLC, No. 1:16-cv-

01085 (W.D. Ark. Feb. 22, 2017), is another case in this Circuit that provides a helpful comparator.

There, within days of a relevant discovery motion being filed, the spoliating party destroyed

company hard drives and ran software designed to erase information from replacement hard drives.

Id. at *5. The Court used the timing to infer that it was beyond serious dispute that the purported

spoliator had knowledge of the requests and acted to prevent access by the other party to them.

And while the court there did issue an adverse inference, even in circumstances that extreme, it



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declined to grant a default judgment. Id. at *6. The circumstances here, detailed above, do not

indicate an intentional suppression of evidence to prevent Plaintiffs from accessing the truth.

       Plaintiffs have also not been prejudiced by the supplementation and correction of the data

packs. At the time of the supplementation, only two fact witness depositions had been completed

– that of the current CEO and of a 30(b)(6) corporate representative. Since that time, Averhealth

has voluntarily agreed to re-open the 30(b)(6) deposition for the purposes of providing testimony

on the supplemental data. Further, Plaintiffs have not even identified experts yet, and trial of this

matter is scheduled to commence just over one year from now.

       C.      The absence of chain of custody for seven tests is not sanctionable as spoliation.

       Any errors, omissions, or destruction of documents or evidence related to Plaintiffs’ tests

were unintentional. Averhealth is a high-volume laboratory that processes over 25,000 testing

specimens each week. Ex. A, Delagnes Aff., at ¶ 6. Moreover, the paper form is a departure from

the typical procedure and is used for specimens collected by case workers and private partners. As

detailed above, Plaintiffs have identified a total of 19 data packs with incomplete chains of custody,

out of 118 specimens. Plaintiffs have not offered any basis on which the Court could determine

that the complete chains of custody were intentionally destroyed. The most they identify is that

they are missing. Nor have they established any motive for Averhealth to destroy the 6 chains of

custody within the two-year document retention window, particularly as they relate to only 6 of

the Padillas’ 85 tests at issue. Even if the incomplete chains of custody are material, the fact that

they are missing cannot be understood to be intentional.

       The lack of chain-of-custody documentation is also not prejudicial. Chain of custody is not

the only way to establish defensibility or validity of a test. As established by the Chain of Custody

SOP, Averhealth does not test specimens with either fatal or uncorrected flaws. Accordingly, there



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is a presumption that the specimens’ chains of custody were not flawed. Averhealth would not

have run the test without proper chain of custody documentation at the time of receipt in the lab.

       D.      Averhealth took reasonable efforts to preserve Foulger’s hair sample.

       As with the previous categories of evidence, Plaintiffs assume that Averhealth intentionally

destroyed Foulger’s hair specimen, without citing any evidence for that assumption. In July 2023,

in connection with evidence preservation efforts, Averhealth located and photographed the

remaining portions of Foulger’s hair specimen. Following that photograph, despite efforts to

preserve the evidence, Averhealth has been unable to locate the specimen.

       Further, while Averhealth concedes that Foulger’s hair specimen is relevant to the

litigation, any prejudice to Plaintiffs is minimal. When Averhealth performs hair testing, it extracts

the root end and pulverizes it until the specimen is liquified. Glinn Aff., Ex. C, at ¶ 13. The

photograph of the remnants of the Foulger specimen does not appear to contain the root end, which

Averhealth uses to test the hair. Id. at ¶ 14; Exhibit K. Accordingly, any testing performed with

the remnants of Foulger’s hair specimen may yield different results than the original specimen

because they would not have tested the root end of the hair. Glinn Aff., Ex. C, at ¶¶ 14–15; Exhibit

L, Deposition of Dr. Michele Glinn at 111:5–16.

       E.      Averhealth has defended this action in good faith.

       Plaintiffs’ effort to claim that Averhealth has exhibited bad faith generally in this case is

meritless for the reasons recited above. In short, it has made extensive efforts to comply with

Plaintiffs’ many discovery requests and to be accurate in its representations to the Court and

counsel. To the extent Plaintiffs disagree, a discovery motion is not the appropriate way to address

that contention, which does not bear on whether documents were intentionally destroyed and

caused them prejudice.



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       This is not a case, for example, like Anderson v. BNSF R. Co., 681 F. Supp. 3d 899 (S.D.

Iowa 2023), which Plaintiffs cite, in which the Court considered as evidence of intentional

spoliation a party’s extreme “demonstrated pattern of abuse” in the discovery process in at least

seven cases in courts nationwide and had been repeatedly admonished for those actions in those

cases. Id. at 912–14. As detailed above, the facts here bear out a party that has done its best to

comply with the Rules and the many requests propounded to it, and one that has undertaken

voluntary efforts to bring potential issues with its prior responses and productions to the attention

of the other side. It is not one that has committed “intentional destruction indicating a desire to

suppress the truth” in this or any other case. Id. at 910 (quoting Stevenson, 354 F.3d at 746). While

Averhealth disputes the merit of the points Plaintiffs make that are more akin to those more

properly considered in the context of Rule 11 and not Rule 37, those assertions are not germane to

or evidence of intentional spoliation of any of the three items Plaintiffs highlight.

       F.      Plaintiffs’ proposed remedies are drastic and unwarranted.

       As outlined above, each instance about which Plaintiffs complain has a reasonable

explanation, and Plaintiffs have failed to show intentionality and prejudice, much less bad faith.

And “[s]evere spoliation sanctions, such as an adverse inference instruction, are only appropriate

upon a showing of bad faith.” Stepnes v. Ritschel, 663 F.3d 952, 965 (8th Cir. 2011); see also

Morris v. Union Pacific R.R., 373 F.3d at 903 (“The adverse inference instruction, when not

warranted, creates a substantial danger of unfair prejudice.”) No sanctions are appropriate here,

and the remedies Plaintiffs seek are particularly severe and unwarranted.

       Plaintiffs ask the Court to order a default judgment against Averhealth. Such a request is

extreme and unjustified on the facts here. A “court should resort to the sanction of dismissal only

when the failure to comply has been due to willfulness, bad faith, or any fault of petitioner.”

Hairston v. Alert Safety Light Products, Inc., 307 F.3d 717, 718–19 (8th Cir. 2002). Review of
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Eighth Circuit spoliation cases in which a dismissal or a default judgment was granted reveals that,

in many cases, the sanctioned litigant acted intentionally and in the face of court orders to the

contrary.

       For example, in Ameriwood Indus., Inc. v. Liberman, which Plaintiffs heavily rely upon,

the court found that the defendants intentionally destroyed documents after the court granted a

motion to compel. Ameriwood Indus., Inc. v. Liberman, No. 4:06CV524-DJS, 2007 WL 5110313,

at *6 (E.D. Mo. July 3, 2007). The court there also determined that the plaintiff was prejudiced

because it could not determine exactly what information and documents were destroyed. Id. at *7.

That is not the case here, where Averhealth has not intentionally destroyed evidence, but rather

has made its best efforts to preserve and produce the evidence requested by Plaintiffs.

       G.      Averhealth requests a hearing should the Court disagree.

       For the reasons detailed above, sanctions are unwarranted, and the Court should deny the

motion. Should the Court, however, believe that more than summary consideration is warranted,

Averhealth requests the opportunity to be heard at a hearing on Plaintiffs’ motion prior to any

decision. See Wright & Miller, 8B Fed. Prac. & Proc. Civ. § 2284 (3d ed.), at n. 48 (“Because so

much is entrusted to the discretion of the district courts in choosing sanctions, a hearing will

ordinarily be required before sanctions are imposed.”) (citing, inter alia, Edgar v. Slaughter, 548

F.2d 770 (8th Cir. 1977)).

IV.    CONCLUSION

       For the reasons above, Plaintiffs’ Motion for Sanctions for Spoliation of Evidence should

be denied. Plaintiffs have not established Averhealth intentionally destroyed any evidence or that

they have suffered prejudice as a result.




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                                              ARMSTRONG TEASDALE LLP


                                              By:
                                                    Timothy J. Gearin              #39133MO
                                                    David G. Ott                   #30449MO
                                                    Nicolas Cejas                  #65829MO
                                                    7700 Forsyth Blvd., Suite 1800
                                                    St. Louis, Missouri 63105
                                                    314.621.5070 FAX: 314.237.1535
                                                    314.237.1535 (facsimile)
                                                    tgearin@atllp.com
                                                    dott@atllp.com
                                                    ncejas@atllp.com
                                                    E-serveBTC@atllp.com

                                              ATTORNEYS FOR DEFENDANT
                                              AVERTEST, LLC D/B/A AVERHEALTH




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on the 5th day of September, 2024, a true and correct copy
of the foregoing was filed electronically with the Clerk of the Court to be served by operation of
the Court’s electronic filing system upon the following:

 Richard S. Cornfeld                            Anthony S. Bruning
 Daniel S. Levy                                 Anthony S. Bruning, Jr.
 Goldenberg Heller & Antognoli, P.C.            Ryan L. Bruning
 2227 South State Route 157                     Jamie L. Boyer (PHV pending)
 Edwardsville, IL 62025                         The Bruning Law Firm, LLC 555 Washington
 rick@ghalaw.com                                Avenue, Suite 600
 daniel@ghalaw.com                              St. Louis, Missouri 63101
 roxie@ghalaw.com                               tony@bruninglegal.com
 Attorneys for Plaintiffs                       aj@bruninglegal.com
                                                ryan@bruninglegal.com
                                                jamie@bruninglegal.com
                                                makenzie@bruninglegal.com
                                                dominic@bruninglegal.com

                                                Attorneys for Plaintiffs

 J.C. Pleban                                    Mike Arias
 C. John Pleban                                 Arnold Chen-Yuan Wang
 Pleban & Associates Law, LLC                   Michael Anthony Jenkins
 2010 South Big Bend Blvd.                      Elvin Cruz
 St. Louis, MO 63117                            Arias Sanguinetti Wang & Torrijos, LLP
 jc@plebanlaw.com                               6701 Center Drive West, 14th Floor
 cpleban@plebanlaw.com                          Los Angeles, California 90045
 maubuchon@plebanlaw.com                        mike@aswtlawyers.com
 Attorneys for Plaintiff                        arnold@aswtlawyers.com
                                                anthony@aswtlawyers.com
                                                ladonna@aswtlawyers.com
                                                elvin@aswtlawyers.com
                                                Pro Hac Vice Attorneys for Plaintiffs




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